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        Telecom Dictionary




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 Loudspeaker

tion, or a consignment of finished products to be sent out         Programming) Low level programming is the creation or
for service.                                                       programs using commands o:r instructions that are at 0
Loudspeaker-A transducer (converter) that transforms               near the level of instructions that are used by th;
audio electrical signal into sound waves (audible signals).        machine or microprocessor (e•.g. assembly language).
Loudspeaker Baffle-An assembly that is mounted on a                Low Level Diplexing-Low level diplexing is the Process
loudspeaker to help focus the sound waves inn particular           of combining multiple signals (such as video and audio) at
direction (such as to the front or side of the speaker).           a point prior t.o the final transmission stage.
Loudspeaker Paging-A feature on a communication                    Low Level Language-A p,rogramming language that
system (such as a PBX) that permits a user to transmit             re0ects the structure of a computer or that of a given
their voice over one or several loudspeaker systems.               class of computers. A low level language consists or
Loudspeaker paging systems were commonly used to                   instructions that are conve,rted direcUy into machine
alert people in a geographic area (such as on a retail sales       code.
area) that they are ~iving a call or they are needed at            Low Noise Amplifier (LNA)-A sensitive pre-amplifier
a specific location.                                               used at a focal point (the feedhorn) of a satellite antenna
Louver-The slots or holes on the front of a loudspeaker            to strengthen the weak satellite signal. The most imp0r-
that permit sound to pass, but provide mechanical projec-          tant parameter of the LNA is its noise temperature, as
tion to the device.                                                described in degrees Kelvin. In general, the lower the
Low Earth Orbit (LEO)-A satellite system where the                 noise temperature, the better the signal quality. There is
satellites are located approximately 500-1,000 miles               a generally a tradeoff betwe,en noise temperature or the
above the Earth. LEO systems typically provide mobile              LNA and the size of the satellite receive antenna. A high.
satellite services (MS$) to handheld or mobile satellite           er noise temperature rating for an LNA requires a larger
 telephones.                                                       diameter antenna to maintain the same level of perfor-
 This figure shows an LEO satellite system. In this dia-           mance.
 gram, a portable satellite telephone is communicating             Low Noise Block Converter (LNB Convert,ir)-A
 with a landline telephone. The satellite telephone com-           device that shifts a band of received frequencies to a dif-
 municates with the closest LEO satellite. Because LEO             ferent (usually lower) frequency band with a small
 satellites fly. very close to the surface of the earth, they go   amount of added (unwanted) signal noise. A common
 across the visible horizon in approximately 10 minutes in         application of a LNB converter is the conversion or
 reference to a mobile satellite customer's location. When         extremely high-frequency satellite receiver signals (such
 the first satellite moves out to the horizon, another LEO         as the KU frequency band) t.o a lower frequency (e.g. c
 satellite becomes available to continue the call. However,        frequency band). The LNB converter is often located on or
 robust network communications need to be in place to              nca.r the satellite receiver antenna to allow the transfer of
  maintain calls (especially data transmission) within this        lower frequency received signals (instead of extremely
 period. Some systems will use satellite diversity to allow        high frequency signals) for transfer from the satellite
  talking through more than one satellite at a time, avoid-        antenna (satellite dish) to a nearby head-end building
  ing call "dropouts" from signal blockage.                        using coax cable or other types or transmission line.
                                                                   Low Noise Converter (LNC)-A low noise converter is a
                                                                   pre-amplification stage in a receiver that is used to
                                                                   increase the signal level to a necessary level for another
                                                                   electronic circuit without the minimal addition or noise
                                                                   signals.
                                                                   Low Pass Filter (LPF)-A filter that passes frequencies
                                                                   below a frequency cut.off point. Lowpass filters are often
                                                                   used in telephone networks to pass audio frequencies
                                                                   below 4 kHz and block (attenuate) high frequencies.
                                                                   Low Power FM (LPFM)-Low power FM radio staions is
                                                                    the ability of broadcasters (e.g. school campuses) to offer
                                                                    FM radio services in small g·e ographic areas. Regulations
                                                                    for lower power FM radio stations were created in 2000.
                                                                   The rules limit the transmission power to 100 Watts that
                                                                    can provide a range of approximately 3.5 miles.
                                                                    Lower Sideband (LSB)-The sideband of an amplitude-
 Low Earth Orbit (LEO) Operation                                    modulated signal containing all frequencies below the
                                                                    carrier frequency.
                                                                    Low-Tier-A wireless system which uses low-power levels
                                                                    intended for pedest.r ians and other slow moving traffic.
 Low Level-(1-MPEG) Low level media formats is a low                LPA-Linear Power Amplifier
 complexity, low bit rate version of the media. (2-                 L-Pad-A volume control that presents to the sou.rce



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